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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20113

DEANGELO WADE and ABE BEYDOUN,

             Defendants.
                                                /

 ORDER ADJOURNING DEFENDANTS DEANGELO WADE AND ABE BEYDOUN’S
         SENTENCING AND SETTING TELEPHONE CONFERENCE

      On December 8, 2011, at approximately 2:30 p.m., the court’s case manager

received a telephone call from attorney Jack Wolfe’s paralegal indicating that Mr. Wolfe

was attending to a family medical emergency and would be unable to attend the

sentencing of his client Defendant Deangelo Wade scheduled for 3:00 p.m. The court

informed counsel for the parties that it would adjourn the sentencing hearings of

Defendants Wade and Abe Beydoun and conduct a telephone conference with counsel

to reschedule the hearings. Accordingly,

      IT IS ORDERED that the sentencing hearings of Defendants Deangelo Wade

and Abe Beydoun are ADJOURNED.

      IT IS FURTHER ORDERED that counsel for the parties shall participate in a

telephone conference on the record on December 14, 2011, at 3:30 p.m.


                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE

Dated: December 14, 2011
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 14, 2011, by electronic and/or ordinary mail.

                                                                      S/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522
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